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                                                                                        Federal Bnreaii
                      NCCIC                                                m            of Investigation

                                            JOINT ANALYSIS REPORT
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     Reference Number: JAR-16-20296A                                                        December 29, 2016


     GRIZZLY STEPPE - Russian Malicious Cyber Activity

     Summary___________________________

     This Joint Analysis Report (JAR) is the result of analytic efforts between the Department of
     Homeland Security (DHS) and the Federal Bureau of Investigation (FBI). This document
     provides technical details regarding the tools and infrastructure used by the Russian civilian and
     military intelligence Services (RIS) to compromise and exploit networks and endpoints
     associated with the U.S. election, as well as a range of U.S. Government, political, and private
     sector entities. The U.S. Government is referring to this malicious cyber activity by RIS as
     GRIZZLY STEPPE.

     Previous JARs have not attributed malicious cyber activity to specific countries or threat actors.
     However, public attribution of these activities to RIS is supported by technical indicators from
     the U.S. Intelligence Community, DHS, FBI, the private sector, and other entities. This
     determination expands upon the Joint Statement released October 7,2016, from the Department
     of Homeland Security and the Director of National Intelligence on Election Security.

     This activity by RIS is part of an ongoing campaign of cyber-enabled operations directed at the
     U.S. government and its citizens. These cyber operations have included spearphishing campaigns
     targeting government organizations, critical infrastructure entities, think tanks, universities,
     political organizations, and corporations leading to the theft of information. In foreign countries,
     RIS actors conducted damaging and/or disruptive cyber-attacks, including attacks on critical
     infrastructure networks. In some cases, RIS actors masqueraded as third parties, hiding behind
     false online personas designed to cause the victim to misattribute the source of the attack. This
     JAR provides technical indicators related to many of these operations, recommended mitigations,
     suggested actions to take in response to the indicators provided, and information on how to
     report such incidents to the U.S. Government.


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     Description

     The U.S. Government confirms that two different RJS actors participated in the intrusion into a
     U.S. political party. The first actor group, known as Advanced Persistent Threat (APT) 29,
     entered into the party’s systems in summer 2015, while the second, known as APT28, entered in
     spring 2016.

           ADVERSARY SPACE                                                        NEUTRAL SPACE                                                            VICTIMSPACE
         Two sepcirate Russian espionage groups



                                                                                                                                                                       APT29TRADECRAFT
                                                                                        © Pushes                         O © Establishes encrypted cdtnmunic
                                                                                                                                                                       • Powershellcoraand
                                                                                                                                                                       • Scteduted execution
                                                                                                                                                                       • Unique encr^tlon Keys
                                                  O. Leverages


                                                                                                                                                                TARGETED SYSTEMS
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                                                                                         ©Deploys
                                                                                                                                           1 © installs onto


                                              c- 6 Leverages



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                                                                 Infrastructure                                                       abtes reniote execution
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        Figure 1: The tactics and techniques used by APT29 and APT 28 to conduct cyber intrusions against target systems


     Both groups have historically targeted government organizations, think tanks, universities, and
     corporations around the world. APT29 has been observed crafting targeted spearphishing
     campaigns leveraging web links to a malicious dropper; once executed, the code delivers Remote
     Access Tools (RATs) and evades detection using a range of techniques. APT28 is known for
     leveraging domains that closely mimic those of targeted organizations and tricking potential
     victims into entering legitimate credentials. APT28 actors relied heavily on shortened URLs in
     their spearphishing email campaigns. Once APT28 and APT29 have access to victims, both
     groups exfiltrate and analyze information to gain intelligence value. These groups use this
     information to craft highly targeted spearphishing campaigns. These actors set up operational
     infrastructure to obfuscate their source infrastructure, host domains and malware for targeting
     organizations, establish command and control nodes, and harvest credentials and other valuable
     information from their targets.

     In summer 2015, an APT29 spearphishing campaign directed emails containing a malicious link
     to over 1,000 recipients, including multiple U.S. Government victims. APT29 used legitimate


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     domains, to include domains associated with U.S. organizations and educational institutions, to
     host malware and send spearphishing emails. In the course of that campaign, APT29 successfully
     compromised a U.S. political party. At least one targeted individual activated links to malware
     hosted on operational infrastructure of opened attachments containing malware. APT29
     delivered malware to the political party’s systems, established persistence, escalated privileges,
     enumerated active directory accounts, and exfiltrated email from several accounts through
     encrypted connections back through operational infrastructure.

     In spring 2016, APT28 compromised the same political party, again via targeted spearphishing.
     This time, the spearphishing email tricked recipients into changing their passwords through a
     fake webmail domain hosted on APT28 operational infrastructure. Using the harvested
     credentials, APT28 was able to gain access and steal content, likely leading to the exfiltration of
     information from multiple senior party members. The U.S. Government assesses that information
     was leaked to the press and publicly disclosed.

          ADVERSARY SPACE                                                  NEUTRAL SPACE                                              VICTIM SPACE
               Ru^isn intelligence Seivices -




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                                                                                       ; inalicious link



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                                                          Infrastructure
                                                                                         ;Wehsite Uial




           GRZZLY STEPPE
                                                                                       looks legitimate



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                                                              ® Exfiltrated to




                                                Figure 2: APT28's Use of Spearphishing and Stoien Credentiais


     Actors likely associated with RIS are continuing to engage in spearphishing campaigns,
     including one launched as recently as November 2016, just days after the U.S. election.




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     Reported Russian Military and Civilian Intelligence Services (RIS)
                                              Alternate Names
     APT28
     APT29
     Agent, btz
      BlackEnergy V3
      BlackEnergy2 APT
     CakeDuke
     Carberp
     CHOPSTICK
     CioudDuke
      CORESHELL
      CosmicDuke
      COZYBEAR
     COZYCAR
     COZYDUKE
     CrouchingYeti
      DIONIS
      Dragonfly
      Energetic Bear
      EVILTOSS
      Fancy Bear
     GeminiDuke
     GREY CLOUD
     HammerDuke
     HAMMERTOSS
     Havex
     MiniDionis
     MiniDuke
     OLDBAIT
     OnionDuke
     Operation Pawn Storm
     PinchDuke
     Powershell backdoor
     Quedagh
     Sandworm
     SEADADDY
     Seaduke
     SEDKIT
     SEDNIT
     Skipper
     Sofacy
     SOURFACE
     SYNful Knock
     Tiny Baron
     Tsar Team
     twain 64.dll {64-bit X-Agent implant)
     VmUpgradeHelper.exe (X-Tunnel implant)
     Waterbug
     X-Agent



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     Technical Details
     Indicators of Compromise (lOCs)
     lOCs associated with RIS cyber actors are provided within the accompanying .csv and .stix files
     of JAR-16-20296.

     Yara Signature
     rule PAS_TOOL_PHP_WEB_KIT
     { .
     meta:
     description = "PAS TOOL PHP WEB KIT FOUND"
     strings:
     $php = "<?php"
     $base64decode = A='base'\.\(\d+\*\d+\)\.'_de’\.’codeV
     Sstrreplace = "(str_replace("
     $md5 = ".substr(md5(strrev("
     Sgzinflate = "gzinflate"
     Scookie = "_COOKIE"
     Sisset = "isset"
     condition:
     (filesize > 20KB and filesize < 22KB) and
     #cookie = 2 and
     #isset = 3 and
     all of them
     }


     Actions to Take Using Indicators
     DHS recommends that network administrators review the BP addresses, file hashes, and Yara
     signature provided and add the IPs to their watchlist to determine whether malicious activity has
     been observed within their organizations. The review of network perimeter netflow or firewall
     logs will assist in determining whether your network has experienced suspicious activity.



     When reviewing network perimeter logs for the IP addresses, organizations may find numerous
     instances of these IPs attempting to connect to their systems. Upon reviewing the traffic from
     these IPs, some traffic may correspond to malicious activity, and some may correspond to
     legitimate activity. Some traffic that may appear legitimate is actually malicious, such as
     vulnerability scanning or browsing of legitimate public facing services (e.g., HTTP, HTTPS,
     FTP). Connections from these IPs may be performing vulnerability scans attempting to identify
     websites that are vulnerable to cross-site scripting (XSS) or Structured Query Language (SQL)
     injection attacks. If scanning identified vulnerable sites, attempts to exploit the vulnerabilities
     may be experienced.


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     Network administrators are encouraged to check their public-facing websites for the malicious
     file hashes. System owners are also advised to run the Yara signature on any system that is
     suspected to have been targeted by RIS actors.

     Threats from lOCs
     Malicious actors may use a variety of methods to interfere with information systems. Some
     methods of attack are listed below. Guidance provided is applicable to many other computer
     networks.

         • Injection Flaws are broad web application attack techniques that attempt to send
            commands to a browser, database, or other system, allowing a regular user to control
           behavior. The most common example is SQL injection, which subverts the relationship
           between a webpage and its supporting database, typically to obtain information contained
           inside the database. Another form is command injection, where an untrusted user is able
           to send commands to operating systems supporting a web application or database. See the
           United States Computer Emergency Readiness Team (US-CERT) Publication on SQL
           hiiection for more information.
         • Cross-site scripting (XSS) vulnerabilities allow threat actors to insert and execute
           unauthorized code in web applications. Successful XSS attacks on websites can provide
           the attacker unauthorized access. For prevention and mitigation strategies against XSS,
           see US-CERT’s Alert on Compromised Web Servers and Web Shells.
         • Server vulnerabilities may be exploited to allow unauthorized access to sensitive
           information. An attack against a poorly configured server may allow an adversary access
           to critical information including any websites or databases hosted on the server. See US-
           CERT’s Tip on Website Security for additional information.

     Recommended Mitigations_________________________________

     Commit to Cybersecurity Best Practices
     A commitment to good cybersecurity and best practices is critical to protecting networks and
     systems. Here are some questions you may want to ask your organization to help prevent and
     mitigate against attacks.

        1. Backups: Do we backup all critical information? Are the backups stored offline? Have
           we tested our ability to revert to backups during an incident?
        2. Risk Analysis: Have we conducted a cybersecurity risk analysis of the organization?
        3. Staff Training: Have we trained staff on cybersecurity best practices?
        4. Vulnerability Scanning & Patching: Have we implemented regular scans of our
           network and systems and appropriate patching of known system vulnerabilities?
        5. Application Whitelisting: Do we allow only approved programs to run on our networks?
        6. Incident Response: Do we have an incident response plan and have we practiced it?



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         7. Business Continuity: Are we able to sustain business operations without access to
            certain systems? For how long? Have we tested this?
         8. Penetration Testing: Have we attempted to hack into our own systems to test the
            security of our systems and our ability to defend against attacks?

     Top Seven Mitigation Strategies
     DHS encourages network administrators to implement the recommendations below, which can
     prevent as many as 85 percent of targeted cyber-attacks. These strategies are common sense to
     many, but DHS continues to see intrusions because organizations fail to use these basic
     measures.
        1. Patch applications and operating systems - Vulnerable applications and operating
           systems are the targets of most attacks. Ensuring these are patched with the latest updates
           greatly reduces the number of exploitable entry points available to an attacker. Use best
           practices when updating software and patches by only downloading updates from
           authenticated vendor sites.
        2. Application whitelisting - Whitelisting is one of the best security strategies because it
           allows only specified programs to run while blocking all others, including malicious
           software.
        3. Restrict administrative privileges - Threat actors are increasingly focused on gaining
           control of legitimate credentials, especially those associated with highly privileged
           accoimts. Reduce privileges to only those needed for a user’s duties. Separate
           administrators into privilege tiers with limited access to other tiers.
        4. Network Segmentation and Segregation into Security Zones - Segment networks into
           logical enclaves and restrict host-to-host communications paths. This helps protect
           sensitive information and critical services and limits damage from network perimeter
           breaches.
        5. Input validation - Input validation is a method of sanitizing untrusted user input
           provided by users of a web application, and may prevent many types of web application
           security flaws, such as SQLi, XSS, and command injection.
        6. File Reputation - Tune Anti-Virus file reputation systems to the most aggressive setting
           possible; some products can limit execution to only the highest reputation files, stopping
           a wide range of untrustworthy code from gaining control.
        7. Understanding firewalls - When anyone or anything can access your network at any
           time, your network is more susceptible to being attacked. Firewalls can be configured to
           block data from certain locations (IP whitelisting) or applications while allowing relevant
           and necessary data through.




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     Responding to Unauthorized Access to Networks
     Implement your security incident response and business continuity plan. It may take time
     for your organization’s IT professionals to isolate and remove threats to your systems and restore
     normal operations. Meanwhile, you should take steps to maintain your organization’s essential
     functions according to your business continuity plan. Organizations should maintain and
     regularly test backup plans, disaster recovery plans, and business continuity procedures.

     Contact DHS or law enforcement immediately. We encourage you to contact DHS NCCIC
     rNCCICCustomerService@hq.dhs.gov or 888-282-0870), the FBI through a local field office or
     the FBI’s Cyber Division (CvWatch@ic.fbi.gov or 855-292-3937) to report an intrusion and to
     request incident response resources or technical assistance.

     Detailed Mitigation Strategies_______________________
     Protect Against SQL Injection and Other Attacks on Web Services
     Routinely evaluate known and published vulnerabilities, perform software updates and
     technology refreshes periodically, and audit external-facing systems for known Web application
     vulnerabilities. Take steps to harden both Web applications and the servers hosting them to
     reduce the risk of network intrusion via this vector.'

               Use and configure available firewalls to block attacks.
               Take steps to further secure Windows systems such as installing and configuring
               Microsoft’s Enhanced Mitigation Experience Toolkit (EMET) and Microsoft AppLocker.
               Monitor and remove any unauthorized code present in any www directories.
               Disable, discontinue, or disallow the use of Internet Control Message Protocol (ICMP)
               and Simple Network Management Protocol (SNMP) and response to these protocols as
               much as possible.
               Remove non-required HTTP verbs from Web servers as typical Web servers and
               applications only require GET, POST, and HEAD.
               Where possible, minimize server fingerprinting by configuring Web servers to avoid
               responding with banners identifying the server software and version number.
               Secure both the operating system and the application.
               Update and patch production servers regularly.
               Disable potentially harmful SQL-stored procedure calls.
               Sanitize and validate input to ensure that it is properly typed and does not contain
               escaped code.
               Consider using type-safe stored procedures and prepared statements.
               Perform regular audits of transaction logs for suspicious activity.
               Perform penetration testing against Web services.
               Ensure error messages are generic and do not expose too much information.

     ' httD://msdn.microsoft.com/en-us/Iibrarv/ff648653.aspx. Web site last accessed April 11,2016.


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      Phishing and Spearphishing
         • Implement a Sender Policy Framework (SPF) record for your organization’s Domain
            Name System (DNS) zone file to minimize risks relating to the receipt of spoofed
               messages.
         •     Educate users to be suspicious of unsolicited phone calls, social media interactions, or
               email messages from individuals asking about employees or other internal information. If
               an unknown individual claims to be from a legitimate organization, try to verify his or her
               identity directly with the company.
         •     Do not provide personal information or information about your organization, including its
               structure or networks, unless you are certain of a person’s authority to have the
               information.
         •     Do not reveal personal or financial information in social media or email, and do not
               respond to solicitations for this information. This includes following links sent in email.
         •     Pay attention to the URL of a website. Malicious websites may look identical to a
               legitimate site, but the URL often includes a variation in spelling or a different domain
               than the valid website (e.g., .com vs. .net).
         •     If you are unsure whether an email request is legitimate, try to verify it by contacting the
               company directly. Do not use contact information provided on a website connected to the
               request; instead, check previous statements for contact information. Information about
               known phishing attacks is also available online from groups such as the Anti-Phishing
               Working Group (http://www.antiphishing.org).
         •     Take advantage of anti-phishing features offered by your email client and web browser.
         •     Patch all systems for critical vulnerabilities, prioritizing timely patching of software that
               processes Internet data, such as web browsers, browser plugins, and document readers.


      Permissions, Privileges, and Access Controls
         • Reduce privileges to only those needed for a user’s duties.
         • Restrict users’ ability (permissions) to install and run imwanted software applications,
           -and apply the principle of “Least Privilege” to all systems and services. Restricting these
            privileges may prevent malware from running or limit its capability to spread through the
            network.
         • Carefully consider the risks before granting administrative rights to users on their own
            machines.
         • Scrub and verify all administrator accounts regularly.
         • Configure Group Policy to restrict all users to only one login session, where possible.
         • Enforce secure network authentication where possible.
         • Instruct administrators to use non-privileged accounts for standard functions such as Web
            browsing or checking Web mail.




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         • Segment networks into logical enclaves and restrict host-to-host communication paths.
           Containment provided by enclaving also makes incident cleanup significantly less costly.
         • Configure firewalls to disallow RDP traffic coming from outside of the network
           boundary, except for in specific configurations such as when tunneled through a
           secondary VPN with lower privileges.
         • Audit existing firewall rules and close all ports that are not explicitly needed for business.
           Specifically, carefully consider which ports should be connecting outbound versus
           inboimd.
         • Enforce a strict lockout policy for network users and closely monitor logs for failed login
           activity. This can be indicative of failed intrusion activity.
         • If remote access between zones is an unavoidable business need, log and monitor these
           connections closely.
         • In environments with a high risk of interception or intrusion, organizations should
           consider supplementing password authentication with other forms of authentication such
           as challenge/response or multifactor authentication using biometric or physical tokens.


      Credentials
         • Enforce a tiered administrative model with dedicated administrator workstations and
           separate administrative accounts that are used exclusively for each tier to prevent tools,
           such as Mimikatz, for credential theft from harvesting domain-level credentials.
         • Implement multi-factor authentication (e.g., smart cards) or at minimum ensure users
           choose complex passwords that change regularly.
         • Be aware that some services (e.g., FTP, telnet, and .rlogin) transmit user credentials in
           clear text. Minimize the use of these services where possible or consider more secure
           alternatives.
         • Properly secure password files by making hashed passwords more difficult to acquire.
           Password hashes can be cracked within seconds using freely available tools. Consider
           restricting access to sensitive password hashes by using a shadow password file or
           equivalent on UNIX systems.
         • Replace or modify services so that all user credentials are passed through an encrypted
           channel.
         • Avoid password policies that reduce the overall strength of credentials. Policies to avoid
           include lack of password expiration date, lack of lockout policy, low or disabled
           password complexity requirements, and password history set to zero.
         • Ensure that users are not re-using passwords between zones by setting policies and
           conducting regular audits.
         • Use imique passwords for local accounts for each device.




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      Logging Practices
         •   Ensure event logging (applications, events, login activities, security attributes, etc.) is
             turned on or monitored for identification of security issues.
         •   Configure network logs to provide enough information to assist in quickly developing an
             accurate determination of a security incident.
         •   Upgrade PowerShell to new versions with enhanced logging features and monitor the
             logs to detect usage of PowerShell commands, which are often malware-related.
         •   Secure logs, potentially in a centralized location, and protect them from modification.
         •   Prepare an incident response plan that can be rapidly implemented in case of a cyber
             intrusion.


     How to Enhance Your Organization’s Cybersecurity Posture
     DHS offers a variety of resources for organizations to help recognize and address their
     cybersecurity risks. Resources include discussion points, steps to start evaluating a cybersecurity
     program, and a list of hands-on resources available to organizations. For a list of services, visit
     https://www.us-cert.gov/ccubedvp. Other resources include:
         •The Cyber Security Advisors (CSA) program bolsters cybersecurity preparedness, risk
          mitigation, and incident response capabilities of critical infrastructure entities and more
          closely aligns them with the Federal Government. CSAs are DHS personnel assigned to
          districts throughout the country and territories, with at least one advisor in each of the 10
          CSA regions, which mirror the Federal Emergency Management Agency regions. For
          more information, email cvberadvisor@hq.dhs.gov.
        • Cyber Resilience Review (CRR) is a no-cost, voluntary assessment to evaluate and
          enhance cybersecurity within critical infrastructure sectors, as well as state, local, tribal,
          and territorial governments. The goal of the CRR is to develop an understanding and
          measurement of key cybersecurity capabilities to provide meaningful indicators of an
          entity’s operational resilience and ability to manage cyber risk to critical services during
          normal operations and times of operational stress and crisis. Visit
          https://www.cert.org/resilience/rmm.html to learn more about the CERT Resilience
          Management Model.
        • Enhanced Cybersecurity Services (ECS) helps critical infrastructure owners and
          operators protect their systems by sharing sensitive and classified cyber threat
          information with Commercial Service Providers (CSPs) and Operational Implementers
          (OIs). CSPs then use the cyber threat information to protect Cl customers. OIs use the
          threat information to protect internal networks. For more information, email
          ECS Program@hq.dhs.gov.
        • The Cybersecurity Information Sharing and Collaboration Program (CISCP) is a
          voluntary information-sharing and collaboration program between and among critical




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             infrastructure partners and the Federal Government. For more information, email
             CISCP@us-cert.gov.
         •   The Automated Indicator Sharing (AIS) initiative is a DHS effort to create a system
             where as soon as a company or federal agency observes an attempted compromise, the
             indicator will be shared in real time with all of our partners, protecting them from that
             particular threat. That means adversaries can only use an attack once, which increases
             their costs and ultimately reduces the prevalence of cyber-attacks. While AIS will not
             eliminate sophisticated cyber threats, it will allow companies and federal agencies to
             concentrate more on them by clearing away less sophisticated attacks.

          AIS participants connect to a DHS-managed system in the NCCIC that allows
          bidirectional sharing of cyber threat indicators. A server housed at each participant’s
          location allows each to exchange indicators with the NCCIC. Participants will not only
          receive DHS-developed indicators, but can share indicators they have observed in their
          own network defense efforts, which DHS will then share with all AIS participants. For
          more information, visit https.7/www.dhs.gov/ais.
        • The Cybersecurity Framework (Framework), developed by the National Institute of
          Standards and Technology (NIST) in collaboration with the public and private sectors, is
          a tool that can improve the cybersecurity readiness of entities. The Framework enables
          entities, regardless of size, degree of cyber risk, or cyber sophistication, to apply
          principles and best practices of risk management to improve the security and resiliency of
          critical infrastructure. The Framework provides standards, guidelines, and practices that
          are working effectively today. It consists of three parts—the Framework Core, the
          Framework Profile, and Framework Implementation Tiers—and emphasizes five
          functions: Identify, Protect, Detect, Respond, and Recover. Use of the Framework is
          strictly voluntary. For more information, visit https ://www.nist. gov/cvberframework or
          email cvberframework@nist.gov.




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      Contact Information

      Recipients of this report are encouraged to contribute any additional information that they may
      have related to this threat. Include the JAR reference number (JAR-16-20296A) in the subject
      line of all email correspondence. For any questions related to this report, please contact NCCIC
      or the FBI.

      NCCIC:
      Phone: +1-888-282-0870
      Email: NCCICCustomerService@hq .dhs. gov

      FBI:
      Phone: +1-855-292-3937
      Email: cvwatch@ic.fbi.gov

      Feedback

     NCCIC continuously strives to improve its products and services. You can help by answering a
     few short questions about this product at the following URL:
     https ://www.us-cert. gov/forms/feedback.




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https;//www.us-cert.gov/GRIZZLY-STEPPE-Russian-Malicious-Cyber-Activity
INDICATOR_VALUE,TYPE,COMMENT,ROLE,ATTACK_PHASE,OBSERVED_DATE,HANDLING,DESCRIPTION
efax[.]pfdregistrY{.]net/eFax/37486[.)ZIP,URL„URL WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the URL address to determine
possible malicious activity.

private[.]directinvesting[.lcom,FQDN„C2,C2,JLP:WHITE,"The Remote Access Tool malware ""8F154D23AC2071D7F179959AABA37AD5"" attempts to use this C2."

www[.]cderlearn[.]com,FQ0N„C2,C2,JLP:WHlTE/'The Remote Access Tool malware ’’"AE7E3E531494B201FBF6021066DDD188"'’ attempts to use this C2."


ritsoperrol(.)ru,FQDN,„„TLP;WHITE,lt is recommended that network administrators review traffic to/from the domain to determine possible malicious activity.

littjohnwilhap[.]ru,FQ.DN,„„TLP;WHITEJt is recommended that network administrators review traffic to/from the domain to determine possible malicious activity.

wilcarobbe[.]com,FQDN,„,JLP;WHITE,lt is recommended that network administrators review traffic to/from the domain to determine possible malicious activity.


one2shoppee[.)com,FQDN,„„TLP:WHITE,lt is recommended that network administrators review traffic to/from the domain to determine possible malicious activity.

insta[.]reduct[.]ru,FQDN„„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the domain to determine possible malicious activity.

editprod[.)waterfilter[.]in[.jua,FQDN,„„TLP:WHITE,lt is recommended that network administrators review traffic to/from the domain to determine possible malicious activity.

mymodule[.]waterfilter(.]in{.]ua,FQDN,„„TLP:WFIITE,lt is recommended that network administrators review traffic to/frbm the domain to determine possible malicious activity.


efax[.]pfdregistry[.]net,FQDN„„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
167[.]114[.135[.]70,IPV4ADDR„IP_WATCHLlST,C2„TLP:WHITEJhis IP address is located in Canada.
185[.]12[.]461.}178,IPV4AODR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in Swaziland.
46[.1102[.]152[.1132,IPV4AODR„IP^WATCHLIST,C2„TLP:WHITEJhis IP address is located in Swaziland.
50[.]2[.]64[.]140,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
69[.]12[.]73[.1174,IPV4ADDR,JP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
92(.]240[.]253[.]181,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address Is located in the Slovakia.
94(.1102[.163[.]139,IPV4ADDR„lP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
95[.]183[.]50[.]23,IPV4ADDR,JP_WATCHLlST,C2„TLP:WHITEJhis IP address is located in Swaziland.
95[.]215[.]44[.]115,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Sweden.
128[.]199t.]108[.]0,IPV4AODR„IP^WATCHLIST,C2„TLP:WHITE,This IP address is located in Singapore.
31[.]210[.llll[.]154,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Turkey.
88[.1198[.]25[.]92,IPV4ADDR,JP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Germany.
185[.]82[.1202[.]102,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,This IP address is located in the Netherlands.
5[.]152[.]205[.]159,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,This IP address is located in United Kingdom.
85[.]204[,]74[.]91,IPV4A0DR„IP_WATCHLIST,„TLP:WHiTE,This IP address is located in Lithuania.
104[.]36[.]83[.]204,IPV4ADDR„IP_WATCHLlST,„TLP;WHITE,This IP address is located in the United States.
188[.]42[.]254[.]26,IPV4ADDR„IP_WATCHLIST„JLPiWHITEJhis IP address is located in Luxembourg.
31I.]210[.]118[.)89,IPV4ADDR„IP_WATCHLIST„JLP;WHITEJhis IP address is located in Turkey.
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153(.)92[.1126[.1148,iPV4ADDR;,IP_WATCHLiST,„TLP:WHITE,This iP address is iocated in Sweden.
185[.182(.1202(.]45,iPV4ADDR„iP_WATCHLIST,„TLP:WHITE,This iP address is iocated in the Netheriands.
2131.1202[.1214[.1148,iPV4ADDR„iP_WATCHLiST,„TLP:WHiTE,This IP address is iocated in Germany.
93[.1115[.]38[.1141,iPV4ADDR„IP_WATCHLiST,„TLP:WHiTE,This iP address is iocated in Buigaria.
153(.]92[.]127(.1138,iPV4ADDR„iP_WATCHUST,„TLP:WHiTE,This iP address is iocated in the Netheriands.
198(.|50[.|177(.1202,iPV4ADDR„iP_WATCHLiST,„TLP:WHiTE,This IP address is located in Canada.
95[.]153|.]311.)53,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Estonia.
103[.1411.]177(.]77,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
104[.]207[.J130[.1126,IPV4ADDR„IP_WATCHLIST,G2„TLP:WHITE,This IP address is located in Germany.
131(.172[.]138[.]33,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
185[.]86[.1148[.]lll,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Sweden.
1851.186[.11481.]227,IPV4ADDR„iP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Sweden.
185[.)861.]1491.1223,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In Sweden.
191[.J96[.166[.]15;IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Venezuela.
213[.)179|.J207[.|166,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
87[.|236[.]211[.1182,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United Kingdom.
89[.]321.]40[.J4,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Germany.
89[.]46[.llOl[079,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Romania.
92[.jll41.192[.1125,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is iocated in Italy.
109[.]236(.]89[.]125,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
146[.101.174[.]7,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
41[.|77[.1136(.)250,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Egypt.
5|.)149[.]2541.]114,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
5[.]9[.]321.1230,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Germany.
811.]171[.156[.1203,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in the Netherlands.
185[.)86[.]1491.197,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Sweden.
131[.172[.]138[.199,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,This IP address is located in the Netherlands.
151[.]80[!]220[.134,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
164[.1132[.]102[.1184,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is iocated in France.
217[.123(.112[.110,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
921.1114[.192[.1107,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Italy.
185[.]82[.1202[.1174,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
5[.|l[.182[.1130,IPV4AODR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Germany.
5(.1199l.ll71[.]58,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Lithuania.
5[.156[.11331.1125,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Netherlands.
185[.]7[.134(.1251,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Sweden.
51.!56[.1133[.123,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in the Netherlands.
185[.177[.1128[.]27,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in the Netherlands.
212[.147[.11941.]250,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Estonia.
801.]2551.112[.1232,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Germany.
142[.|10(.138[.1212,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Canada.
861.1105|.118(.|lll,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in the Netherlands.
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198[.]105[.]125[.]74JPV4A0DR,JP_WATCHLIST,C2,JLP:WHITE,This IP address is located in Germany.
31[.]220[.l43(.]99,IPV4ADDR„IP_WATCHUST,C2,JLP:WHITEJhis IP address is located in the Netherlands.
62[.]113[.]238[.1165,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in Germany.
192[.11981.182[.]58,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in the United States.
5[.]l[.182[.]140,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,This IP address is located in Germany.
185[.]100[.]84[.]254JPV4ADDR„tP_WATCHLlST„JLP:WHITE,This IP address is located in Romania.
121[.]243[.]46[.]164,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in India.
185[.]100[j86(.]122,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in Finland.
5[.]135[.]199[.]28,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in France.
182[.116[.]23[.]41,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITEJhis IP address is located in China.
104[.]93[.]114[.]20tlPV4ADDR„IP_WATCHUST,C2,JLP:WHITE,This IP address is located in Indonesia.
202[.]158[.]120[.]51JPV4ADDR„IP_WATCHLlST,C2,JLP:WHITE,This IP address is located in Indonesia.
203[.]190[.]241[.]33,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in Indonesia.
185[.]76[.]35[.]10,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Iraq.
185[.]76[.]35[.lll,IPV4ADDR„IP^WATCHLIST,C2,JLP:WHITE,This IP address is located in Iraq.
153[.]214t.]197[.I133,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITEJhis IP address is located in Japan.
89[.]45[.]67[.]6,IPV4ADDR„IP_WATCHLIST,C2,JLP;WHITEJhis IP address is located in Bulgaria.
175[.]126[.]148[.]37JPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in South Korea.
178[.]32[.]251[.]109,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
163[.]177[.]65[.]209,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
91[.]l[.]l[.ll,IPV4ADDR„IP_WATCHLISLC2„TLP:WHlTE,This IP address is located in Denmark.
62[.]l[.ll[.ll,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Greece.
91[.]219[.]238[.]231,IPV4ADDR,JP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in Hungary.
5[.]212[.ll[.ll,IPV4ADDR,,IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in Iran.
l[.]112[.]l[.]l,IPV4ADDR,JP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Japan.
42[.ll[.]l[.]l,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in Japan.
43[.]l[.]l{.]lJPV4ADDR„IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in Japan.
151(.]236[.]195[.1105,IPV4ADDR„IP_WATCHLISLC2,JLP:WHITE,This IP address is located in Kazakhstan.
41[.]212[.]l[.]lJPV4ADDR„IP_WATCHLIST,C2,JLP:WHtTE,This IP address is located in Kenya. ’
l[.]212[.]l[.]l,IPV4AOOR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in South Korea.
211[.1194[.150[.]61,IPV4ADDR„IP_WATCHL)ST,C2„TLP:WHITE,This IP address is located in South Korea.
194[.]187[.]249[.]87,IPV4ADDR,JP_WATCHLlST,C2,JLP:WHITE,This IP address is located in France.
125[.]181[.1204[.1230,IPV4ADDR„IP__WATCHLIST,C2„TLP:WHITEJhis IP address is located in South Korea.
S[.1135[.]65l.ll46,IPV4ADDR,JP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
1781.]162[.]193[.]233,IPV4ADDR„IP_WATCHLIST,C2„TLP;WHITEJhis IP address is located in Germany.
103[.]253[.l41[.]55,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
89[.]163[.1142(.]94,IPV4ADDR,JP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Denmark.
185[.]100[.]86[.]155,IPV4ADDR„IP_WATCHLIST,C2, JLP:WHITE,This IP address is located in Finland.
221[.]138[.]128[.]116,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in South Korea.
219[.]249[.]95{.]108,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITEJhis IP address is located in South Korea.
175[.]105[.]185[.]86,IPV4ADDR„IP_WATCHLIST,C2,JLP;WHITE,This IP address is located in Japan.
211[.]226[.]72[.l236,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITE,This IP address is located in South Korea.
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46(.1165[.|197[.ll,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Germany.
203[.1218(.15(.1241,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
149[.1202[.1171.1236,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
1251.11291.]112[.129,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in South Korea.
193[.)24[.)2081.1113,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Denmark.
193[.1238[.1157(.)16,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Austria.
81[.J95[.)126[.J15,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Belgium.
193[.1241.]240(.1200,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Bulgaria.
201[.]77(.]1241.]118,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Brazil.
69[.170(.1199(.]50,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Canada.
207[.1176[.]226[.18,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Canada.
661.1158[.1142(.12,IPV4ADDR„IP^WATCHLIST,C2„TLP:WHITE,This IP address is located in Canada.
103|.|41(.|52[.]39,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
1221.]228(.189|.)137,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
116[.1211[.]105|.1140,IPV4ADDR„IP_WATCHLIST,C2,;TLP:WHITE,This IP address is located in China.
122(.J228[.]113[.1135,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
58[.)68(.1148[.]42,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
103[.141[.]52[.137,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
61[.1135[.1149[.1124,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
103[.1244[.1164(.13,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
27[.]24[.]190[.1240,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
60[.]190[.122[.1202,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
115|.1238[.1951.14,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
60(.]1911.1139[.186,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
601.]191[.11391.142,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
61[.]144[.]2441.1217,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
1221.)192[.]65[.173,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
58[.149[.]61[.1252,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
123(.181[.]251[.]190,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
123[.]103[.1231.1169,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
58[.|83[.1208|.|24,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
58[.|250[.I19|.|237,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
122[.]228[.]193[.1115,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
125[.190[.193[.155,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
117[.1121|.]1361.183,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
60[.)2111.]204[.1110,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is'located in China.
117[.]34[.]88[.]250,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
123[.1125[.1196(.1254,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
42[.151|.lll[.)66,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
103[.]226|.1132[.]7,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
78[.]108[.]154|.1254,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Czech Republic.
89|.1190|.1341.]200,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Czech Republic,
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81[.]210[.U29(.1164,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Denmark.
217[.]79[.]188[.]43,IPV4ADOR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In Denmark.
5[.134[.]150[.]2,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,Thls IP address is located in Spain.
217|.J13[.]561.19,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
213|.|215[.191.1162,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
62[.]193(.)51(.|144,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in France.
83(.11381.]176[.J21,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United Kingdom.
62[.j244[.]176(.J139,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United Kingdom.
147[.]102[.]10[.ll,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Greece.
103[.]254|.1108[.l7,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
27[.Jlll[.I202[.178,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
2[.)189[.1142[.180,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In Iran.
94|.1126|.18[.|21,IPV4ADOR„IP_WATCHLIST,C2„TLP:WHITE,Thls IP address is located in Italy.
58I.J80[.1109[.]59,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Japan.
203[.]169|.)48[.|15,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Mongolia.
103[.138[.]1931.J6,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In Malaysia.
91[.]241(.)33[.173,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In Poland.
69[.]89[.]37[.190,IPV4ADDR„IP_WATCHUST,C2„TLP:WHITE,This IP address Is located in Puerto Rico.
69[.]89[.137[.191,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in Puerto Rico.
69[.189(.]37[.192,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in Puerto Rico.
86[.1127[.12101.114,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Romania.
851.124[.1197[.14,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Sweden.
202[.128[.1103[.1150,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Thailand.
2021.)28[.1194(.]6,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Thailand.
95[.10[.126[.]199,IPV4ADpR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Turkey.
122[.]1471.]230[.]8,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Taiwan.
65[.123(.1129[.179,iPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States!
69[.]10(.1162[.1154,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
162[.1209[.1125[.]237,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
68[.]64[.)143[.1103,IPV4ADDR„IP_WATCHLIST,C2„TLP;WHITE,This IP address is located in the United States.
162[.J209[.1125[.|127,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
93[.1184[.]2151.]200,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
65[.)36[.1205[.ll,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
69[.125I.]2421.)15,iPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
671.152[.]39[.1166,IPV4ADDR„IP_WATCHLIST,C2„TLP;WHITE,This IP address is located in the United States.
216[.158[.]216[.1174,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In the United States.
128[.1146[.1176[.l6,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
2161.158[.]216[.1142,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in the United States.
641.179(.]108[.]197,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
64[.)27[.]12[.141,IPV4ADDR„IP_WATCHUST,C2„TLP:WHITE,This IP address is located in the United States.
63|.1214[.1136[.]153,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
1341.)74[.]98[.]42,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In the United States.
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  69|.130|.1251[.129,iPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
  69[.130|.1251|.128,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
  69[.130[.1251(.127,IPV4ADOR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the Utiited States.
  69[.130(.]2511.126,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
  199j.J59[.)148[.123,IPV4ADDR„IP_WATCHLISLC2„TLP:WHITE,This IP address is located in the United States.
 134|.1121[.)2411.|31,IPV4ADDR„lP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 741.J208[.1191[.1194,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 216[.]110|.)195[.112,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 72(.]21|.J91[.)121,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 69[.]63[.1147[.149,IPV4ADDR„IP_WATCHLIST,C2„TLP;WHITE,This IP address is located in the United States.
 38[.1110[.1220[.1169,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 69[.]89[.1191[.18,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 74[.]208|.|1911.1202,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 162|.12091.|125|.1247,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 69[.J30(.J251[.]30,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In the United States.
 74(.llll.)2161.]239,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 741.]2171.1184[.1206,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 66[.]196(.]116(.)112,IPV4ADDR„IP_WATCHLIST,C2„TLP;WHITE,This IP address is located in the United States.
 134(.1170[.]108[.126,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 98[.1138[.1199[.1240,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 98[.1138(.]79(.173,rPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 54[.1146[.1128|.1140,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located In the United States.
 72[.|30[.J196[.1161,IPV4ADDR„IP_WATCHUST,C2„TLP;WHITE,This IP address is located in the United States.
 65[.]55[.I252[.143,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in the United States.
 1031.)16[.]1521.)10,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in Bangladesh.
 186|.I215[.11921.)2,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in Brazil.
 103|.J23[.]136[.)10,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Cambodia.
 58[.120[.1114[.195,IPV4AD0R„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
 60[.112[.1119|.1222,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in China.
  58[.168[.)148[.137,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  210[.114[.170[.]140,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  60[.|191[.1138[.]222,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  116[.|76|.|255[.186,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  60[.]18[.)131[.]233,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  101[.|641.J2341.]86,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  60[.)18[.1147[.]185,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  103[.1381.143[.1207,IPV4ADDR„iP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  60(.12[.1237(.]27,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in China.
  176[.19|.125(.]114,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Germany.
  132(.]248(.]64[.]121,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address Is located in Mexico.
  1481.]202[.|105|.133,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Mexico.
. 148|.12021.1239|.138,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Mexico.
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185(.)13(.)76[.]45JPV4A0DR„IP_WATCHUST,C2,JLP:WHITE,This IP address is located in Spain.
103[.]21[.119S[.]13,IPV4ADDR„IP_WATCHLIST,C2„TLP:WHITE,This IP address is located in Taiwan.
140[.]130[.]213[.]5,IPV4ADDR„IP_WATCHLISLC2,JLP:WHITE,This IP address is located in Taiwan.
122[.]155[.]194[.1125JPV4ADDR„lP_WATCHLISLC2,JLP:WHITEJhis IP address is located in Thailand.
122[.]154I.I162[.]222,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITEJhis IP address is located in Thailand.
115[.]178[.l58[.]19,IPV4ADDR,JP_WATCHLIST,C2„TLP;WHITE,This IP address is located in Thailand.
103[.]254[.]16[.]168,IPV4ADDR„IP_WATCHLIST,C2,JLP:WHITEJhis IP address is located in Vietnam.
42[.]112[.]33[.]43,IPV4ADDR„IP_WATCHLlST,C2„TLP:WHITEJhis IP address is located in Vietnam.
212[;)113[.]321.)242JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,This IP address is located in Ukraine.
210[.1245[.1123[.]180,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJhis IP address is located in Vietnam.
109[.]103[.]167[.]206,IPV4ADDR„IP_WATCHUST„,TLP:\A/HITEJhis IP address is located in Romania.
115[.l249[.]128[.]114,IPV4ADDR„IP_WATCHLIST„JLP:\A/HITE,This IP address is located in India.
197[.]251[.]205[.]172,IPV4ADDR„IP_WATCHLiST,„TLP:WHITE,This IP address is located in Ghana.
203[.1157[.1155[.]8JPV4ADDR„IP_\WATCHLIST,„TLP:WHITEJhis IP address is located in Thailand.
5[.]40[.]211.]27,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJhis IP address is located in Spain.
79[.]143[.]lll[.1228,IPV4ADDR„IP_WATCHUST,„TLP;WHITE,This IP address is located in Serbia.
85l.l25[.]100[.1104,IPV4ADDR„IP_WATCHLIST„JLP:WHlTEJhis IP address is located in Germany.
93[.1171[.l203[.]244,IPV4ADDR„IP_WATCHLIST„JLP;WHITEJhis IP address is located in Russia.
94[.]242[.l251[.]32,IPV4ADDR„IP_\A/ATCHLIST,„TLP;WHITEJhis IP address is located in Luxembourg.
95[.1105[.l72(.]78,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJhis IP address is located in Russia.

5[.)281.]62[.]85,IPV4ADDR„IP_WATCHLIST„JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
5[.]56Ml33[.]19,(PV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the (P address to determine possible malicious
activity.
5[.]77[.)47[.]142,IPV4A0DR„IP_WATCHUST„,TLP:WHIT£,lt is recommended that network administrators review traffic to/from the IP address to determine'possible malicious
activity.
5[.]135[.]65[.]145,IPV4AD0R„IP_WATCHLIST„ JLP;\A/HITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]135[.]158[.]101,IPV4ADDR„IP_WATCHLIST.„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]157(.)38[.)34JPV4ADDR„IP_WATCHUST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.1189[.1188[.llllJPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]1961.]l[.]129,lPV4ADDR„IP_WATCHUST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]249[.]145[.]164,IPV4ADDR„IP_WATCHLIST„,TLP;WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
23[.]254[.]211[.]232,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
27[.]50(.]94[.]251,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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31[.]16[.]91(.]237,IPV4ADDR„lP_WATCHLIST,„TLP;WHIT£,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.131(.)72(.l43,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]148[.]219[.]50,IPV4ADDR„IP_WATCHLIST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]185[.)104[.]19,IPV4AODR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.1192[.]228[.)185,IPV4A00R„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]210[.]125[.)99,IPV4ADDR„IP_WATCHUST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity;
35[.]0[.]127[.152,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP-address to determine possible malicious
activity.
37[.]0[.]127[.144,IPV4ADDR,JP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]48[.]109[.]107,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]59(.]42[.]55,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37(.]59[.163[.]190,IPV4ADDR„IP_WATCHLIST„JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.)59[.]123[.)142,IP\/4ADDR„IP_WATCHLIST,„TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]123[.]130[;]176,lPV4ADDR,JP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]123[.]130[.]186JPV4ADDR„!P_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]187[.]7[.]74,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]220[.]35[.]36,IPV4ADDR„IP_WATCHUST,„TLP:WHlTE,tt is recommended that network administrators review traffic.to/from the IP address to determine possible malicious
activity.
37[.]220[.]35[.]202,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.l233[.]99[.1157,IPV4ADDR„IP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
45[.l33[.]48[.]204,lPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
45[.]55[.]178[.]34,tPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
45[.)56[.)90[.]85,lPV4ADDR,,IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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45[.]62[.)255(.)94,IP\/4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
45(.]79[.]85[.1112,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.]17[.]100[.]14,IPV4ADDR„IP_WATCHLIST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]28[.]68[.1158JPV4ADDR„IP_WATCHllST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]28[.]110[.]136,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]29[.I248[.]238,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]39[.]1021.]250,IPV4ADDR,JP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.1101[.]138[.]211,IPV4ADDR„IP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]105[.]100[.]149,IPV4A0DR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.1165[.]196[.]229,IPV4ADDR„IP_WATCHLIST„,TLp:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]165[.]223[.l217,IPV4ADDR„IP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]165[.]228(.]119,IPV4ADDR„IP_WATCHLIST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.]165[.)230[.15JPV4ADDR„IP_WATCHLIST,, JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166(.]137[.]240,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.1182[.]106[.]190,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]242[.l66[.]240,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.


50[.]7[.]176(.)2,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
51[.]254[.]215l.]7,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
51[.]255[.]33[.]0,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
51[.]255[.]38[.]226,IPV4AD0R„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
51[.)255[.]202[.)66,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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52(.]29l.]252[.]84JPV4ADDR.,IP_WATCHLIST„.TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
62[.]102[.]148[.167,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
62[.1149[.]25[.]15,IPV4ADDR„IP_WATCHUST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
62[.]210[.]105[.]116,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
62(.)210[.]129[.)246,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
63[.]141[.]226[.134,IPV4ADDR„tP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
64[.]27[.]17[.]140,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
64[.1113(.132[.]29,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
64[.]137[.]215[.]208,IPV4ADDR„lP_WATCHLI5T,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
65[.]19[.]167[.]130,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
65[.119[.)167[.]131,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
65(.]19[.]167(.]132,iPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
65[.]1581.]81[.]132JPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
65[.]181[.J112[.]128,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
66[.]180[.]193[.l219,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
69[.]162[.]139[.]9,IPV4ADDR„IP_WATCHLIST„JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
72[.]52[.]75[.]27,lPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
79(.]98[.]107(.]90,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
79[.]134[.]234[.]247,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
79[.]172[.]193[.132,IPV4ADDR„IP_WATCHLIST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
801.)67[.]172[.]162,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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80[.l221{.]159{,]67,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
80[.]240[.1139[.]lll,IPV4ADDR,JP_WATCHLIST„JLP:WHITE,it is recommended that netvyork administrators review traffic to/from the IP address to determine possible malicious
activity.
80[.]244[.181[.]191,IPV4ADDR„IP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
81[.]7[.)15[.]115,IPV4ADDR„iP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
81[.]170[.]184[.]90,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
82[.]163[.]79{.]61,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity,
82(.]211[.]19[.]129,IPV4ADDR„IP_WATCHUST„.TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
82[.]211(.]19{.]143,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
82[.]221[.]129[.]96,lPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
82[.]221[.]139[.]25,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
84[.]200[.]561.]34JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
84[.}251[.191[.]165,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]25[.1103[.]119,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]143[.]219[.]211,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]159[.]237[.]210,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.I248[.]227(.1164,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]248[.]227[.]165,IPV4ADOR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
87[.]120[.]254[.]200JPV4ADbR„IP_WATCHLI5T,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.


88[.180(.]7[.I5,IPV4AOOR„(P_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
88[.]150[.]157[.114,IPV4ADDR„IP_WATCHLlST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
88[.]198[.114[.]171,IPV4ADDR„IP_WATCHLlST,„TLP:WHtTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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                                                                                                                                                                                 Exhibit 7




89[.]31[.]57(.)5,IPV4ADDR,JP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity-
89[.]33[.]246[.]114,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]34[.]237[.)ll,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89(.]34[.1237{.]12,IPV4ADOR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]34t.]237[.]101,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]35[.]178(.]104,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]163(.]135[.]98,IPV4ApDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]163[.]237[.]45,IPV4ADDR,JP_WATCHUST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]187[.]142[.]208,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]187[.]144[.]122,IPV4ADDR„IP_WATCHLISL„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]248(.]162[.]179,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.)108[.]183[.]170,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91(.]121[.]230[.]209,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91(.]134(.]232[.]63,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]146[.]121(.]3,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91(.)213I.]8[.]84,IPV4ADDR„IP_WATCHUST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91(.)213(.]8[.j235,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]213[.18{.]236,IPV4ADDR„IP_WATCHLIST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious,
activity.
91(.]219[.l236(.]136,IPV4ADDR„IP_WATCHLIST,„TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible majicious
activity.
91[.]219[.]236[.]218,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]219[.]236[.]222,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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91[.]219(.)236[.)232,IPV4AD0R„IP_WATCHLISL,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]228[.]151[.l52,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.1229[.)77[.]64,IPV4ADDR„IP_WATCHL)ST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
92(.]222[.]6[.]12JPV4ADDR,,tP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
92(.]222[.]103(.]234,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]115(.]95[.]201,IPV4A00R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]115[.]95[.]202,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,it is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]115l.]95[.]205,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93(.]115[.]241(.]194,IPV4ADDR„IP_WATCHLIST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]174[.]90[.]30,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]174[.l93[.]133,IPV4ADDR„IP_WATCHLIST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity;
93[.]184[.1661.1227JPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]219[.]113[.J201,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]26[.]140[.]150JPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]102[.]49[.]64,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]l62[.149[.)175,lPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[;]102{.]53[.]177JPV4ADDR„tP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]142[.]242(.]84,IPV4ADDR„lP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242t.]195[.]186,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine.possible malicious
activity.
94[.]242[.1222[.]23,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242[.]239(.]162,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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94[.)254(.]2(.]71,IP\/4AODR,,tP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
95[.]13b[.]ll[.)147,IPV4AODR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
95(.]163[.]107[.]15,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
95(.]211[.]205[.]151,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
97[.]74[.]237[.]196,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
■101[.]98[.lll[.]146,IPV4ADDR,JP_WATCHLlST„,TLP;WHITE,lt is recommended that network administrators review traffic to/from the (P address to determine possible malicious
 activity.
104[.]128[.]161[.]233,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
104{.]237[.]152[.)195JPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
106(.]187[.]37[.]101,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
107(.]181(.]174(.]84,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
107[.]182[.]131[.]117,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108[.128[.]164[.]248,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108I.]166[.]168[.]158,IPV4ADDR,,IP_WATCHLIST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.                                                                                                              '
109[.]74[.]151[.]149,tPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109(.]163(,]234[.)5,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]163[.]234[.18,IPV4ADDR,.IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]201{.]133{.]100,IPV4ADDR„lP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]201[.]152(.]246,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
120[.]29[.l217[.]46,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
128[.]52[.]128[.]105JPV4ADDR,JP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
128(.]153[.]145[.]125,IPV4ADDR„IP_WATCHLIST„JLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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139[.)59[.]9(.]200,!PV4ADDR„IP_WATCHLIST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
146[.]0[.l77[.l50,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
146(.]185[.]135t.]43,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
146[.]185[.1177[.]103JP\/4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
148[.]251[.]255[.]92,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.156[.]223[.]241,IPV4ADDR,,IP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]56[.]229[.jl7,IPV4ADDR„lP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]202[.]42[.]188JPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]202[.]47{.]181,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]202[.]62[.]12,IPV4ADDR,JP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
151[.]100[.1179[.]50,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
151[.]236[.]23[.]54,IPV4ADDR„IP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.]58[.]170(.]186,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.]58[.1170[.]222,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.]69(.]172[.l225,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158l.)69[.]194[.]36,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.)69[.]208(.1131,IPV4ADDR,,IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.]130[.]0[.]242,IPV4ADDR„IP_WATCHLiST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.)244{.]25(.]249,IPV4ADDR„IP_WATCHLlST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]247[.]72[.]27,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]247[.]72[.]199JPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity,
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162[.]247[.172(.1200,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the iP address to determine possibie malicious
activity.
162|.1247[.172[.1201,IPV4ADDR„IP_WATCHLiST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the iP address to determine possible malicious
activity.
162[.]247[.l72[.]202,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]247[.]72[.1216,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]247(.]72(.]217,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]247[.]73[.]204,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]247[.]73(.)206,IPV4AD0R„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172[.]29[.19,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172(.j29(.]81,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172(.)38[.)173,lPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.1172(.]129[.]70,IPV4ADDR„IP_WATCHLIST„JLP:WHITEJt is recomrhended that network administrators revievv traffic to/from the IP address to determine possible malicious
activity.
163[.)172[.]135(.]172,IPV4ADDR„IP_WATCHUST„JLP:WHITE,lt is recorhmended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172(.]136[.]101,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
i63[.]172(.jl38[.]68,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172[.]152(.]231,IPV4AOOR„IP_WATCHLIST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172(.]154[.]105,lPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172(.)209[.]46,IPV4ADDR„IP_WATCHLIST.,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172[.]211[.1135,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172[.]214[.]76,IPV4ADDR,JP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
164[.]132[.]51[.]91,lPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
167[.]114[.]92[.150JPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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171[.]25[.1193(.]20,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
171[.]25[.]193[.]25,IPV4AODR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
171[.]25[.1193[.l77,tPV4ADDR„IP_WATCHLIST.„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
171I.]25l.]193I.]78,IPV4ADDR,JP_WATCHLIST,„TLP:WHlTEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
171(.)25[.)193[.]132.IP\/4ADDR„IP_WATCHLIST,'jLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
171I.]25[.]193[.]235,tPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
173[.]208[.]213[.1114,lPV4ADDR„IP:_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
173[.)254[.]216(.]66JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]10[.]99[.]200,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
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176[.]10[.]99[.]208,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]10{.]104[.]243,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]10[.]107[.]180,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious -
activity.
176(.]31[.]7(.]241,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]31[.]180[.]157,IPV4ADDR„IP_WATCHUST„JLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]58(.]100[.]98.IPV4A0DR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
177[.]85l.]98(.)227,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]17[.]170[.1124,IPV4ADDR„IP_WATCHLIST„,TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178(.)17[.J170[.]164,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,it is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]17[.]170[.]179,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178(.]17[.1170[.]238,tPV4ADDR,JP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]17(.]174[.]10JPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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178(.]17[.]174[.]99,IPV4ADDR„IP_WATCHLIST„JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
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178[.120{.]55f.]16,IPV4ADDR„IP_WATCHLIST„JLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178(.)20[.]55[.]18,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious      . ,
activity.
178[.]32[.]53[.]94JPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]32[.]53[.]124JPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]32[.l53[.]131,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]62[.]18[.1173,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.162[.}71[.]57,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]151[.]182[.]123JPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178(.]162(.]216[.]42,IPV4ADDR„iP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]175(.]128(.]50,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]175(.]131[.]194,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.)217[.]187[.]39,IPV4ADDR„IP_WATCHUST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]239[.]167[.]15,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
179[.]43[.]143[.1162,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
184[.]105[.]2201.]24,lPV4ADDR;,IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]ll[.]180[.)67,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.116[.]200[.]176JPV4ADDR„IP_WATCHLIST,„TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]17[.]184[.l228JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]34[.l33[.]2,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185{.]36[.]100[.]145,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recorhmended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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185[.138(.114(.H71,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE.lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
18'5[.138[.]14[.1215,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.J65[.]1341.|75,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
1851.]65[.1134i.]76,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185(.)651.11341.]81,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185|.i69[.1168[.|112,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100[.]841.|82,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100[.185(.|101,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]100[.]85[.]132,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.|100[.1851.]176,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE.lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100(.]85[.)190,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185(.]100|.185[.]191,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
1851.]100[.]85[.1192,IPV4ADOR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100[.]85(.]236,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100[.]86I.169,IPV4ADDR„IP_WATCHU5T,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100[.]86[.|86,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.11001.]86[.1128,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.1100[.]86[.1167,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]100[.]87(.]63,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]100[.]87l.]73,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]100[.]87[.]82JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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185(.]100(.187(.]120,IPV4ADOR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185(.]104(.]120[.]2,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]104[.]120[.)4,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]104[.]120[.]7,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185t.]129[.]62[.]62,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]129[.]62[.]63,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185(.]135[.]156(.]94,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
188[.]93[.]234[.)203,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
188[.]126(.]81[.]155,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
188[.]138[.]l[.]217,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
188[.]138[.l9[.]41,IPV4AD0R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]160[.]102[.]164,IPV4ADDR„lP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]160[.]102[.]166,IPV4ADDR„IP_WATCHLIST,„TlP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]15[.]16(.)4,IPV4ADDR„IP_WATCHUST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]90[.]12[.186,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]90[.112[.]87,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]90[.]12(.]88,IPV4ADDR„IP_WATCHUST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193(.]90(.]12(.j89,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.l90l.]12[.]90,IPV4ADDR„IP_WATCHLlST,„TLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]lll[.]136[.]162,IPV4ADDR„IP_WATCHLlST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]138(.]219(.]231,IPV4ADDR,JP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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193(.]171[.]202[.1150,IPV4ADDR.,IP_WATCHUST„JLP:WHITE.It is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]200[.]241[.]195,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
194[.]187[.]249[.]135,IPV4ADDR„)P_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
195[.]154[.]8[.]lll,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
195[.]154[.]81[.]29,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
195[.]154[.]90[.]122,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
195(.]154[.]255[.]174,IPV4ADDR„lP_WATCHLlST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
195[.l228t.]45(.1176,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]50[.]200[.]135,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]50[.]200[.1139,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]58(.]107I.]53,IPV4ADDR„1P_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.)96[.]155[.}3,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]134[.]125[.]78,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]167{.]223(.]38,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199(.]68[.]196[.)125,IPV4ADDR„IP_WATCHLIST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]87[.]154[.)251,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]87[.)154[.]255,IPV4ADDR„IP_WATCHLIST,'„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]127[.]226[.]150,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.lll[.]50[.]131JPV4ADDR„IP_WATCHUST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.]85(.1191(,]30JPV4ADDR„IP_WATCHLI5T,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
207[.]244{.]70[.]35,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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209[.]66(.]119(.]150,lPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
209[.]133[.]66[.]214,IPV4AbDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
209[.l249[.]180(.]198,IPV4ADDR„lP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212I.)7[.)192[.]148,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]7[.)219(.]155,IPV4ADDR„IP_WATCHLIST„,TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]47(.]195(.]52,IPV4AOOR„IP_WATCHLIST,„TLP:WHIT£,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.l47[.]227[.172,IPV4ADDR„IP_WATCHLIST„,TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]47[.]2381.]193,lPV4ADDR„IP_WATCHLIST„,TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]47[.]246[.]21,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.l47[.l247[.l226,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]47(.]248(.]81,IPV4ADDR„IP_WATCHUST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]68[.]41(.183,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]83[.]40(.]238,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]83[.]40(.]239,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]117[.]180[.]21,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]1171.]180[.1130,lPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
216[.]17[.J99[.]183JPV4ADDR„IP_WATCHLIST„ JLPiWHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
216[.]218[.]134[.)12,IPV4ADDR„lP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
216(.]230[.]148[.]77,IPV4ADDR„IP_WATCHUST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
216[.]239(.]90[.]19,IPV4ADDR„IP_WATCHLIST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity,
2171.]12[.]204[.1104JPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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217[.113[.]197(.)5,IPV4ADDR„IP_WATCHLIST.„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217[.]23[.]14l.]168,iPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217[.)115[.]10{.]131JPV4ADDR,JP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217[.]115[.]10{.]132,IPV4ADDR„IP_vyATCHLIST„,TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
103[.]8[.]24[.]66,IPV4ADDR„IP_WATCHL!ST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
146[.]185[.1161[.)126,lPV4ADDR,JP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.1114[.]0[.]120,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]114[.I0[.]157,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
104[.)152[.)208[.]166,IPV4ADDR,JP_WATCHLIST„JLP:WH!TE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
104[.]233[.]108[.1157,IPV4ADDR„IP_WATCHLIST„ JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
104[.]236[.]58[.]27,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
106[.]187[.]99[.1148,IPV4ADDR„IP_WATCHLIST-,JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108[.l61[.]123(.)73,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108(.]61[.]152[.]252,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108[.161[.]166[.]139,lPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108[.]61(.]187[.]24JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
108(.]61(.)228[.]153,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]163[.]234[.12JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.

109[.]173[.]113[.]248,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]173[.l45[.]225JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]124[.]120,IPV4ADDR„IP_^WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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109(.]188(.]124[.1135,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.1124[.]168,!PV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]124[.]23,IPV4ADDR„IP_WATCHLIST„JLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]124[.]25,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.J188t.]124[,]36,IPV4AD0R„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]124[.]43,IPV4ADDR„IP_WATCHUST.„TLP:WHITE.lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.1124(.]46,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,(t is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188t.]124[.]47,IPV4ADDR.,IP_WATCHLIST,;,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]124[.]65,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188{.]124[.l80,IPV4ADDR„IP_WATCHLIST..,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.1188[.]125[.]12,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the.lP address to determine possible malicious
activity.
109[.]188[.]125[.)13,IPV4ADDR..IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109(.]188[.]125[.]19,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109(.]188[.]125(.]20,IPV4AD0R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]125[.]3,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.1125(.]30,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109{.]188[.)125l.]32,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]125[.]33,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]125[.l4JPV4AD0R„IP_WATCHLIST,.,TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity. -
109[.1188[.]125[.]40,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]125(.]5,IPV4ADDR,,IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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109[.]188[.)125[.]52,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188(.]125[.l60,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]125[.]9,IPV4ADDR„IP_WATCHLIST„ JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]126(.)ll,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt Is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
ip9[.1188[.]126(.]12,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]126[.113,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]126[.114,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109(.]188[.]126[.]15,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]126(.]18,IPV4ADOR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]126(.]181,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.1188[.]126[.]21,IPV4ADDR,JP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious _
activity.
109[.]188[.1126(.]30,IPV4AD0R„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109(.jl88(.]126[.]39,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109(.]188(.)126[.]43,IPV4A0DR„IP_WATCHLIST,„TLP:WHITE,lt Is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]126[.]44,IPV4ADDR,,IP_WATCHLIST,„TLP:WHITE,lt is recommended thk network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.}188[.]126[.]57.lPV4ADDR„IP_WAfCHLlST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]127[.]23,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]127[.]27,IPV4ADDR„IP_WATCHUST,„TLP;WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]127l.)28,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]127[.l34,IPV4AD0R„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]188[.]127[.152,IPV4ADDR„IP_WATCHLIST,,,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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109[.]188[.]127[.]60,IPV4ADDR„IP_WATCHLIST„ JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]201[.]152[.]26,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]201[.]154[.1170,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]201[.]154[.]186,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]201[.]154[.1205,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.)68[.]20[.]194,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
109[.]72(.]73(.]18,IPV4ADDR,JP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
128[.l73[.]141[.]124,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
128[.]75[.]159[.]209,IPV4ADDR„IP_WATCHLIST„,TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
141[.]138[.]141[.l208,IPV4ADDR,JP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
141[.]255[.]162[.]162,lPV4ADDR,JP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
141[.]255[.]162[.]166,(PV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
141(.]255(.]162(.]175,IP\/4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
146(.]185(.]139(.]55,IPV4ADDR„lP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]154(.]158[.]51,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]202[.]44[.]177,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]56{.]99[.]36JP\/4ADDR„IP_WATCHLIST„JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]56[.]99(.]37,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
149[.]56(.]99[.138JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
151{.]l[.1182[.]128,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
151[.]236[.]201.]113,iPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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151(.]236(.)25[.]57,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
154[.]70[.]153[.]175.!PV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.]255l.]211[.]156JPV4ADDR,JP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
158[.]69[.]244[.140,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
159[.J203[.130[.]48,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.1244[.l26[.]76,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious '
activity.
162[.1250[.]234[.]177JPV4ADDR,JP_WATCHLIST,„TLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
162[.]253[.]42[.]208,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163(.)172[.]140[.]30,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172[.)143[.1114,IPV4ADDR„IP_WATCHLiST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.1172[.]158[.]208,lPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]172(.]431.l52,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
163[.]47(.]21[.]101,IPV4ADDR„IP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
167(.]114[.]238[.]104,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
172[.]98[.167(.]32,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
173[.|246[.]103(.]8JPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
173[.]255{.]231[.]225,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
176[.]lll(.]109[.]155,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178{.]140(.1158(.]79,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178(.]162(.]199[.]142,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity,
178[.]162(.]205[.]2JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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178[.1162[.]211(.)216,IPV4AD0R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]17(.]163[.182,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178[.]17[.)170[.]201,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
178(.]175[.]144[.]43,IPV4ADDR„IP_WATCHUST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]100[.187[.]139,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]100[.l87[.]44,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]128[.]40(.]220,IPV4ADDR„IP_WATCHLIST„ jLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]3{.]135[.]58,lPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185(.)55(.]217(.]127,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.l61[.]138[.]104,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.180[.]222[.)78,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]80[.]50(.]33,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
188[.]162[.]64{.)72,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
188[.]162[.]64(.]83,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
190(.]97(.]163(.]207,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]121[.]2521.]153,IPV4ADDR„tP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]121[.]46[.]121,IPV4ADDR„IP_WATCHLIST,„TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]151[.)155[.]130,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]195[.]80[.]10,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]207[.]61[.]178,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
192[.]40[.]57[.1129,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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193[.1169[.14(.]29,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]169[.l86[.]78,IPV4ADDR„|p_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193[.]169[.]87[.171,IPV4ADDR„|p_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
193(.]182(.jl44[.)34,IPV4A0DR„lP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
194[.]88[.]143[.]66,IPV4ADDR„|p_WATCHLI5T„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
195[.]154[.]15[.]227,IPV4ADDR„|p_WATCHUST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]50(.]159[.]231,IPV4ADDR,,|p_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198f.]50[.l200[.J131,IPV4ADDR.,(P_WATCHLIST,„TLP:WH(TE,(t is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
198[.]50[.]200[.]137,IPV4ADDR,,lP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]7l(.l233[.]138,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]71[.]233[.]139,IPV4ADDR„|p_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]71[.]233[.]140,IPV4ADDR„lP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.l71[.]233[.]141,IPV4ADDR,jp_WATCHLIST„JLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
199[.]71[.]233[.]142,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204(.]155(.)30[.]75,IPV4ADDR„lp_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.1155[.l30(.l76,IPV4ADDR„lp_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.]155[.l30[.]77,IP\/4ADDR„IP_WATCHLIST„,TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.]155[.]30(.]78JPV4ADOR„lP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.]155[.l30l.]79,IPV4ADDR,jp_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.]155[.]30[.]80,IPV4ADDR„lp_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204[.]155[.l30[.]81,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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204[.1155[.1301.182,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
204(.1194[.129(.]4,IPV4ADDR„IP_WATCHLIST,„TLP.'WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
2071.]244[.]97[.1183,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
209[.1222[.]77[.]220,iPV4ADDR„iP_WATCHLIST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.]109[.]194[.1126,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.17(.1217[.]50,IPV4ADDR„IP^WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
212[.|83|.]190[.J65,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
213[.|39[.]51[.]93,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
2161.]751.)21[.]31,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt Is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217[.112(.1201[.1109,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217[.123[.110(.1184,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217|.|23|.|10[.|188,IPV4ADDR,JP_WATCHLIST„,TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
217[.]23[.]10(.|189,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
23[.]239[.]10|.]144,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.1132[.10[.Jll,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31(.1132[.10[.112,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31|.|148|.12191.]166,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.1148[.)2191.J168,IPV4ADDR„lp_WATCHLiST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.1148[.]219[.]176,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.1168[.]172[.]147,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.1186[.]96[.]19JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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31(.]186[.)96[.]20,IPV4ADDR„IP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]210[.1109[.]147,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31{.]210[.]117[.]131,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]210[.]123[.]213,IPV4ADDR,JP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]210[.]123[.]214,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31[.]210[.]125[.]100,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
31(.]210(.]125[.jl05,IPV4ADDR,JP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37(.]139[.]52[.]47,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37(.]146[.]14[.]44,IPV4ADDR„IP_WATCHLIST„JLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]187[.]239[.]8,IPV4ADDR„IP_WATCHLIST„ JLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.1187[.]247[.13,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]235[.]53[.]237,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]247[.]54(.]157,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.J48[.]93[.]246,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
37[.]59[.]14[.1201,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
41[.]206l.ll88(.]206,IPV4AD0R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
41(.]215[.]241[.]147,IPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
45[.]32(.j239[.]246,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.}101[.]197(.]155,IPV4ADDR„IP_WATCHLIST.„TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]108[.]39[.]193,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]108[.]391.1198JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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46[.]148[.U7[.]100,IP\/4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.]148[.]17[.]210,IPV4ADDR„IP_WATCHLIST..,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]148(.]17[.]98,IPV4ADDR„IP_WATCHLIST„ JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]148[.]17(.]99JPV4A0DR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.]148[.]26[.]78,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.)166[.]137[.1224JPV4ADOR„IP_WATCHLIST„JLP:WHITE,lt Is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]137[.]245,IPV4ADDR„IP_WATCHLIST,,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]138[.]129,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]138[.1141,IPV4ADDR„lP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]138[.]142,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]138[.1147,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.)166[.]186[.]243,lPV4ADDR„IP_WATCHLIST,„TLP:WHITE,tt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]188[.]208,IPV4ADDR,JP_WATCHLlST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.1166[.1188[.]228,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46[.]166[.]190[.1182,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.]166[.]190[.]192,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.)166[.]190[.]223JPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46(.)28[.]lll[.)122,IPV4ADDR„lP_WATCHLlST,„TLP:WHiTE,it is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46{.173(.)164(.)160,IPV4ADDR,JP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]133[.]179[.1243,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]133[.]8[.1152,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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                                                                                                                                                                                  Exhibit 7


5[.1133(.]8[.]162,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.I134[.Il[.l250JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5{.]135[.]186[.]35,IPV4ADDR„IP_WATCHLIST,„TLP:WH!TE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5(.]149[.]249[.]172,IPV4ADDR,JP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]153[.]233[.]58,IPV4ADDR„IP_WATCHLIST,„Tt.P:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]i53[.]234[.190JPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]196[.]58[.]96,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]199[.]172[.]147JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.


5[.]2[.164(.]10.(PV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
5(.]255(.]80(.]27,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]34t.]183[.]55,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
5[.]45[.1183[.]194JPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.


5[.]9[.)98[.]43,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.

50[.]7[.]62(.)27,IP\/4ADDR,JP_WATCHLIST„JLP:WHITE,!t is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
59[.]115[.]115[.]115,IPV4ADDR„IP_WATCHLlST„JLP:WHITE,lt is recommended that network administrators'review traffic to/from the IP address to determine possible malicious
activity.
62[.]212[.173[.]141,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt'is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.


62(.]4[.]22(.]48,IPV4AD0R„iP_WATCHLIST„,TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
64[.]124t.]32(.]84,IP\/4ADDR„IP_WATCHUST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
64[.]137[.]178[.]3JPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
64[.]137l.]206[.]52,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
71[.]19[.]157[.]127,IPV4ADDR„iP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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                                                                                                                                                                                  Exhibit 7


72(.]5[.]72[.l225,IPV4AD0R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]106[.]220[.]129,IPV4ADDR,JP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]138[.)104[.]178,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78(.]138[.]106[.]231,IPV4ADDR,JP_WATCHLlST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]138[.]106(.]234,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]138(,]106(.]235,IPV4ADDR„IP_WATCHLIST.,JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78{.]138[.]106[.)247,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]138(.]97[.]15,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]138[.]981.]92,IPV4ADDR„IP_WATCHUST„JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
78[.]138[.]98[.]95,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
79[.]134[.]255[.]200,IPV4ADDR„IP_WATCHLIST„JLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
8[.]391.]147[.1120,IPV4ADDR„IP_WATCHLIST„ JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
81(.]17(.]18[.]50,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
81[.)30[.]158(.]81,IPV4ADDR„IP_WATCHLIST„JLP:WHITE;lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.


81[.)7[.)16[.]13,IPV4A0DR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious activity.
83[.]136[.]253(.)147,IPV4ADDR„IP_WATCHLIST„ JLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
83[.]220[.12361.]147,IPV4ADDR„lP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
84(.)117(.]113[.]152,IPV4ADDR„IP_WATCHLIST,„TLP:WHlTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
84[.]232[.]5[.]230,lPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.)143[.]95(.]50,IPV4ADDR.,IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.}195[.]97(.)226,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious •
activity.
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                                                                                                                                                                              Exhibit 7


85[.]195[.]97(.]227,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]195[.]97[.]230,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]207[.]155[.]39JPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85[.]248[.]227[.]163,IPV4ADDR„IP_WATCHUST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
85(.]90[.]244[.]52,IPV4ADDR„IP_WATCHLIST„ JLP:WHIT£,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
87(.]170[.]206[.]84,IPV4ADDR„IP_WATCHLIST„JLP:WHtTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
87[.)185[.]31I,]200,IPV4AD0R,JP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
87[.]236(.]194[.)23,IPV4ADDR„IP_WATCHLIST„JLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]169[.)218[.]249,IPV4ADDR„IP_WATCHUST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.]187[.]145l.ll03,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious '
activity.
89[.]188[.]9l.]91,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
89[.136[.]208l.]231,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
90[.]154[.]72[.]187,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]217[.]91[.179JPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]219[.]239[.]245,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]219(.]30(.]81,IP\/4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]230[.)60(.]42,IPV4ADDR„IP_WATCHLlST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
91[.]230[.]61[.]68,IPV4ADDR„lP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
92[.]222(.]28[.]243,IPV4ADDR,JP_WATCHLIST.,,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
92[.)222(.]71(.1173,IPV4ADDR„lP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
92[.]222[.]88[.17,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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92[.]222[.]92[.1152,lPV4ADDR„lP_WATCHUST,„TLP;WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]115[.]94[.)23JPV4ADDR,;iP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.)115(.]94l.]26,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,it is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
93[.]115[.]95[.]39JPV4ADDR„lP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]103(.jl75[.]86,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.)185[.]85(.]42,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94(.]185[.]85[.]43,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]185[.]85[.]44,tPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94I.]185[.]85[.]46,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]198[.]100[.]8JPV4ADDR„IP_WATCHLIST,„TLP:WHITEJt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]23[.]147[.]30,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242[.]2061.]196,IPV4ADDR„IP_WATCHUST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242[.]239[.}163,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242[.1239[.]165,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242{.]239(.]177,IPV4AD0R„IP_WATCHLIST,„TLP:WHITE,lt is recommended that nkwork administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242(.)239(.1181,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242[.]239[.]183,IPV4ADDR„IP_WATCHLIST„,TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94l.]242[.]239[.]189JPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]242[.]57[.]104,IPV4ADDR„IP_WATCHUST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94{.]242[.]57(.]2,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
94[.]31[.]53[.]203,IPV4ADDR„IP_WATCHLIST„JLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
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95[.]163[.]107|.114,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
95[.]211[.)214[.)81,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
95[.1213[.]157[.]140,iPV4ADDR,JP_WATCHUST„JLPiWHITE.It is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
95[.]213[.]157[.]141,IPV4ADDR„IP_WATCHLIST,„TLP:WHiTE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
46{.]4(.]193[.jl46,IPV4ADDR„IP_WATCHLIST,„TLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
65[.]15[.]88[.]243,IPV4ADDR„IP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]104(.]ll[.]154,IPV4ADDR„IP_WATCHLIST„JLP;WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.
185[.]104[.19(.I39,IPV4ADDR,JP_WATCHLIST,„TLP:WHITE,lt is recommended that network administrators review traffic to/from the IP address to determine possible malicious
activity.

8F154D23AC207107F179959AABA37AD5;mD5,FILENAME:DFDTS.DLL|FILE_SIZE:4357121SHA1;8CCAA941AF229CF57A0A97327D99A46F989423F0|SHA256:55058D3427CE932D8EFC

BE54DCCF97C9A8D1E85C767814E34F4B2B6A6B305641,FILE HASH WATCHLISL„TLP:WHlTE;'This DLL is a fully functioning Remote Access Tool and variant of OnionDuke malware
family. The following text is the communication from the implant beaconing out to the controller.
Code=53418f93&amp;s=f01d6a5003&amp;css=a8e0e38camp;n=e9

GET/cmsimg/status.php?s=379406bb&amp;status=a8e6c2e9f01d6a8bef HTTP/1.1 User-Agent:
Mozilla/4.0 (compatible; MSIE 7.0; Windows NT 5.1; Trident/4.0; .NET CLR 1.1.4322; .NET
CLR 2.0.50727; .NET CLR 3.0.4506.2152; .NET CLR 3.5.30729; .NET4.0C; .NET4.0E) Host:
Connection: Keep-Alive Cache-Control: no-cache Pragma: no-cache

The following text is the implant sending a GET request to retrieve information from the victim.
GET /cmsimg/js.php?status=2ffce9f01d6a28d5&amp;k=e907b230a8 HTTP/1.1 Accept: */*
Accept-Encoding: gzip, deflate User-Agent: Mozilla/4.0 (compatible; MSIE 7.0; Windows NT
5.1; Trident/4.0; .NET CLR 1.1.4322; .NET CLR 2.0.50727; .NET CLR 3.0.4506.2152; .NET CLR
3.5.30729; .NET4.0C; .NET4.0E) Host: Connection: Keep-Alive — POST /cmsimg/js.php
HTTP/1.1 Content-Type: application/x-www-form-urlencoded User-Agent: Mozilla/4.0
(compatible; MSIE 7.0; Windows NT 5.1; Trident/4,0; .NET CLR 1.1.4322; .NET CLR 2.0.50727;
.NET CLR 3.0.4506.2152; .NET CLR 3.5.30729; .NET4.0C; .NET4.0E) Host: Content-Length: 42
Cache-Control; no-cache

The following text is the implant posting data internally for the C2 to communicate this information back to the adversary.
POST /cmsimg/index.php HTTP/1.1 Content-Type: application/x-www-form-urlencoded
User-Agent: Mozilla/4.0 (compatible; MSIE 7.0; Windows NT 5.1; Trident/4.0; .NET CLR
1.1.4322; .NET CLR 2.0.50727; .NET CLR 3.0.4506.2152; .NET CLR 3.5.30729; .NET4.0C;
.NET4.0E) Host: Content-Length: 37 Cache-Control: no-cache
page=4b9a8&amp;t^ele2e9f01d6a5003&amp;n=399c8"
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AE7E3E531494B201FBF6021066DDD188,MD5,FILENAME:HRDG022184_certclint.dll_|FILE_SIZE:434688|SHAl:E9FB290AB3A57DD50F78596B3BB3D373F4391794|SHA256:9ACBA7E5

F972CDD722541A23FF314EA81AC35D5C0C758EB708FB6E2CC4F598A0,FILE HASH WATCHLIST„,TLP:WHtTE,This DLL is a fully functioning Remote Access Tool and variant of
OnionDuke malware family.

7FCE89D5E3D59D8E849D55D604B70A6F,MD5„FILE HASH WATCHLIST,„TLP:WHITE,"Filename:default.php. it is recommended that network administrators review systems for the
existence of this hash and determine possible malicious activity. The following text is the communication from the implant beaconing out to the controller.
Code=53418f93&amp;s=f01d6a5003&amp;css=a8e0e3&amp;n=e9

GET/cmsimg/status.php?s=379406bb&amp;status=a8e6c2e9f01d6a8bef HTTP/1.1 User-Agent:
Mozilla/4.0 (compatible; MSIE 7.0; Windows NT 5.1; Trident/4.0; .NET CLR 1.1.4322; .NET
CLR 2.0.50727; .NET CLR 3.0.4506.2152; .NET CLR 3.5.30729; .NET4.0C; .NET4.0E) Host:
Connection: Keep-Alive Cache-Control: no-cache Pragma: no-cache

The following text is the implant sending a GET request to retrieve information from the victim.
GET /cmsimg/is.php?status=2ffce9f01d6a28d5&amp;k=e907b230a8 HTTP/1.1 Accept: */*
Accept-Encoding: gzip, deflate User-Agent; Mozilla/4.0 (compatible; MSIE 7.0; Windows NT
5.1; Trident/4.0; .NET CLR 1.1.4322; .NET CLR 2.0.50727; .NET CLR 3.0.4506.2152; .NET CLR
3.5.30729; .NET4.0C; .NET4.0E) Host: Connection: Keep-Alive — POST/cmsimg/js.php
HTTP/1.1 Content-Type: application/x-www-form-urlencoded User-Agent: Mozilla/4.0
(compatible; MSIE 7.0; Windows NT 5.1; Trident/4.0; .NET CLR 1.1.4322; .NET CLR 2.0.50727;
.NET CLR 3.0.4506.2152; .NET CLR 3.5.30729; .NET4.0C; .NET4.0E) Host; Content-Length: 42
Cache-Control; no-cache

The following text is the implant posting data internally for the C2 to communicate this information back to the adversary.
POST /cmsimg/index.php HTTP/1.1 Content-Type: application/x-www-form-urlencoded
User-Agent; Mozilla/4.0 (compatible; MSIE 7.0; Windows NT 5.1; Trident/4.0; .NET CLR
1.1.4322; -NET CLR 2.0.50727; .NET CLR 3.0.4506.2152; .NET CLR 3.5.30729; .NET4.0C;
.NET4.0E} Host: Content-Length: 37 Cache-Control: no-cache
page=4b9a8&amp;t=ele2e9f01d6a5003&amp;n=399c8"

81F1AF277010CB78755F08DFCC379CA6,MD5„FILE HASH WATCHLIST,„TLP:WHITE,Filename:fhyge.rtf. It is recommended that network administrators review systems for the
existence of this hash and determine possible malicious activity.
617BA99BE8A7D0771628344D209E9D8A,MD5„FILE HASH WATCHLIST,„TLP:WHITE,Filename:m3.tmp. It is recommended that network administrators review systems for the
existence of this hash and determine possible malicious activity.

,MD5,SHA1:9CB7716D83C0D06AB356BDFA52DEF1AF64BC5210,FILE HASH WATCHLIST,„TLP:WHITE,Filename:fhyge.rtf. It is recommended that network administrators review
systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA1:7CEFB021FB30F985B427B584BE9C16E364836739,FILE HASH WATCHLIST„JLP:WHITE,Filename:m3.tmp. It is recommended that network administrators review systems
for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:0576CDOE9406E642C473CFA9CB67DA4BC4963EOFD6811BB09D328D71B36FAA09,FILE HASH WATCHLIST„JLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.
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.MD5,SHA256;0FD05095E5D2FA466BEF897105DD943DE29F6B585BA68A7BF58148767364E73£,FILE HASH WATCHLIST„JLP:WHITE.It is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:1343C905A9C8B0360C0665EFA6AF588161FDA76B9D09682AAF585DF1851CA751,FILE HASH WATCHLlST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,IV1D5,SHA256:20F76ADA1721B61963FA595E3A2006C96225351362B79D5D719197C190CD4239,FILE HASH WATCHLIST„JLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:249EE048142D3D4B5F7AD15E8D4B98CF9491EE68DB9749089F559ADA4A33F93E,FILE HASH WATCHLIST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:2D5AFEC034705D2DC398F01C100636D51EB446F459F1C2602512FD26E86368E4,FILE HASH WATCHL[ST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:3BD682BB7870D5C8BC413CB4EOCC27E44B2358C8FC793B934C71B2A85B8169D7,FILE HASH WATCHLIST„JLP:WHlTE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:449E7A7CBC393AE353E8E18B5C31D17BB13235D0C07E9E319137543608749602,FILE HASH WATCHLIST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:6FAD670AC8FEBB5909BE73C9F6B428179C6A7E94294E3E6E358C994500FCCE46,FILE HASH WATCHLIST,, JLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256;7B28B9B85F9943342787BAE1C92CAB39C01F9D82B99EB8628ABC638AFD9EDDAF,FILE HASH WATCHLIST„JLP:WHlTE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:7DAC01E818BD5A01FE75C3324F6250E3F51977111D7B4A94E41307BF463F122E,FILE HASH WATCHLIST,„TLP:WH!TE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:9376E2O164145D9589E43C39C29BE3AO7ECDFD9C5C3225A69F712DC0EF9D757F,FILE HASH WATCHLIST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5'SHA256:AOC0OACA2F34ClF5DDCF36BE2CCCA4CE63B38436FAF45FO97D212C59D337A8O6,FILE HASH WATCHLIST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:AE67C121C7B81638A7CB655864D574F8A9E55E66BCB9A7B01F0719A05FAB7975,FILE HASH WATCHLIST,„TLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:BD7996752CAC5D05ED9D1D4077DDF3ABCB3D291321C274DBCF10600AB45AD4E4.FILE HASH WATCHLIST„ JLP:WHITE,lt is recommended that network
administrators review systems for the existence of this hash and determine possible malicious activity.
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                                                                                                                                                             Exhibit 7




,MD5.SHA256:D285115E97C02063836F1CF8F91669C114052727C39BF4BD3C062AD5B3509E38,FILE HASH WATCHLIST,, JLP:WHITE,lt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.

,MD5,SHA256:DA9F2804B16B369156E1B629AD3D2AAC79326B94284E43C7B8355F3DB71912B8,FILE HASH WATCHLIST,„TLP:WHITEJt is recommended that network administrators
review systems for the existence of this hash and determine possible malicious activity.
